
PETERS, J.
| iThis matter is one of nineteen consolidated appeals on remand from the supreme court following its decision in Rebel Distributors, Inc. v. LUBA Workers’ Compensation, 13-749 (La.10/15/13), — So.3d -. In its remand to this court, the supreme court ordered that we consider the remaining issues raised by the parties which were not resolved by its decision. However, after reviewing the record, we note that this claim was dismissed by Rebel Distributors Corporation, Inc. d/b/a Physician Partner and Pharmacy Partner at the start of the trial on the merits. Because this matter was dismissed, we reverse the judgment of the workers’ compensation judge and render judgment in favor of The Glen Retirement System and LUBA Casualty Insurance Company. We assess all costs of this appeal to Rebel Distributors Corporation, Inc. d/b/a Physician Partner and Pharmacy Partner.
REVERSED AND RENDERED.
